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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

JACQUELINE BURGE,

      Plaintiff,

v.                                                       Case No: 5:22-cv-141-BJD-PRL

RICKY DIXON, et al.,

      Defendants.


                                        ORDER

      Upon due consideration, Plaintiff’s Motion to Extend Time for Service (Doc. 5) is

GRANTED. Plaintiff must serve Defendants and provide the Court with certification of

service and documents reflecting completed service upon all Defendants by July 13, 2022.

      IT IS SO ORDERED.

      DONE AND ORDERED at Ocala, Florida, this 15th day of June 2022.




caw 6/13

copies: Counsel of Record
